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 Fill in this information to identify the case:

 Debtor name         Infinity Capital Management, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF NEVADA

 Case number (if known)         21-14486-abl
                                                                                                                                  Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.      Does the debtor have any executory contracts or unexpired leases?
         No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
       Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal            Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                     State the name and mailing address for all other parties with
                                                                                whom the debtor has an executory contract or unexpired
                                                                                lease

 2.1.         State what the contract or                  Service
              lease is for and the nature of              Agreement/Contract
              the debtor's interest

                  State the term remaining                                           Advanced Imaging Centers LLC
                                                                                     Attn: Jeff Waronker
              List the contract number of any                                        6050 Peachtree Pkwy Ste 400
                    government contract                                              Peachtree Corners, GA 30092


 2.2.         State what the contract or                  Service
              lease is for and the nature of              Agreement/Contract
              the debtor's interest

                  State the term remaining                                           Advanced Orthopaedics
                                                                                     Attn: Christian Foglar
              List the contract number of any                                        6140 Camino Verde Dr. Suite L.
                    government contract                                              San Jose, CA 95119


 2.3.         State what the contract or                  Service
              lease is for and the nature of              Agreement/Contract
              the debtor's interest

                  State the term remaining                                           Advanced Pain Management PC
                                                                                     Attn: Hemant Yagnick MD
              List the contract number of any                                        404 Town Park Blvd. Suite 101
                    government contract                                              Evans, GA 30809


 2.4.         State what the contract or                  Service
              lease is for and the nature of              Agreement/Contract
              the debtor's interest

                  State the term remaining                                           Albuquerk DeFernandes
                                                                                     Attn: Albuquerk DeFernandes
              List the contract number of any                                        120 West Plumb Lane
                    government contract                                              Reno, NV 89509




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.5.        State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest

                  State the term remaining                                               Alcovy Neurology, P.C.
                                                                                         Attn: Juan C. Lacayo MD
             List the contract number of any                                             3535 Highway 81
                   government contract                                                   Loganville, GA 30052


 2.6.        State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest

                  State the term remaining                                               Alliance Healthcare Services
                                                                                         Attn: Managing Member
             List the contract number of any                                             1019 East 22nd Ave.
                   government contract                                                   Cordele, GA 31015


 2.7.        State what the contract or                   Accounts Purchase
             lease is for and the nature of               Agreement
             the debtor's interest

                  State the term remaining                                               Alliance Spinal Therapy & Rehabilitation
                                                                                         Attn: Managing Member
             List the contract number of any                                             7455 West Washington Ave Suite 140
                   government contract                                                   Las Vegas, NV 89128


 2.8.        State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest

                  State the term remaining                                               American Health Imaging
                                                                                         Attn: Dan Balentine
             List the contract number of any                                             6590 Powers Ferry Road
                   government contract                                                   Atlanta, GA 30339


 2.9.        State what the contract or                   Contract for Carticel
             lease is for and the nature of               Reimbursement
             the debtor's interest

                  State the term remaining                                               AmerisourceBergen Specialty Group
                                                                                         Attn: Stefani D. Forsythe
             List the contract number of any                                             3101 Gaylord Parkway
                   government contract                                                   Frisco, TX 75034


 2.10.       State what the contract or                   Service Agreement
             lease is for and the nature of
             the debtor's interest
                                                                                         AmPro Orthotics & Prothetics Inc.
                  State the term remaining                                               Attn: Luis E. Choto
                                                                                         6877 S Eastern Ave
             List the contract number of any                                             Las Vegas, NV 89119
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                    government contract


 2.11.       State what the contract or                   Service Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                               Anesthesiology Consultants Inc.
                                                                                         Attn: Bradford Isaacs MD
             List the contract number of any                                             7220 South Cimarron Rd Suite 230
                   government contract                                                   Las Vegas, NV 89113


 2.12.       State what the contract or                   Accounts Purchase
             lease is for and the nature of               Agreement
             the debtor's interest

                  State the term remaining                                               Anthony M. Odell DC
                                                                                         Attn: Anthony M. Odell DC
             List the contract number of any                                             3227 Perkiomen Ave
                   government contract                                                   Reading, PA 19606


 2.13.       State what the contract or                   Accounts Purchase
             lease is for and the nature of               Agreement
             the debtor's interest

                  State the term remaining                                               Associated Oral Specialties Inc.
                                                                                         Attn: Dr. Freddie J. Wakefield Jr.
             List the contract number of any                                             5671 Peachtree Dunwoody Rd. Suite 420
                   government contract                                                   Atlanta, GA 30342


 2.14.       State what the contract or                   Service Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                               Associated Pathologists Laboratories
                                                                                         Attn: Rick Reber
             List the contract number of any                                             2075 E. Flamingo Rd.
                   government contract                                                   Las Vegas, NV 89119


 2.15.       State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest

                  State the term remaining                                               Athens Orthopedics Clinic
                                                                                         Attn: Kayo Elliot
             List the contract number of any                                             1765 Old West Broad St. Bldg. 2 Suite 20
                   government contract                                                   Athens, GA 30606


 2.16.       State what the contract or                   Service                        Atlanta Spine Institute
             lease is for and the nature of               Agreement/Contract             Attn: Dr. Plas T. James
             the debtor's interest                                                       5667 Peachtree Dunwoody Rd. Suite 220
                                                                                         Atlanta, GA 30342
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.17.       State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest

                  State the term remaining                                               Atlas Orthopaedics
                                                                                         Attn: Dr. Duncan Wells
             List the contract number of any                                             970 Woodstock Pkwy Ste 310
                   government contract                                                   Woodstock, GA 30188


 2.18.       State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest

                  State the term remaining                                               Bethea Consulting & Psychological Servic
                                                                                         Attn: Angela R. Bethea Ph.D
             List the contract number of any                                             5 Concourse Parkway NE Suite 3000
                   government contract                                                   Atlanta, GA 30328


 2.19.       State what the contract or                   Engagement Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                               Borg Law Group
                                                                                         Attn: Brooke M. Borg Esq.
             List the contract number of any                                             9555 Hillwood Dr. Suite 150
                   government contract                                                   Las Vegas, NV 89134


 2.20.       State what the contract or                   Engagement Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                               Carbajal & McNutt LLP
                                                                                         Attn: Dan McNutt
             List the contract number of any                                             625 S. Eight Street
                   government contract                                                   Las Vegas, NV 89104


 2.21.       State what the contract or                   Service Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                               Care4Life Home Health Agency
                                                                                         Attn: Mary Levy
             List the contract number of any                                             8665 W. Flamingo Rd.
                   government contract                                                   Las Vegas, NV 89147




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 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.22.       State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest

                  State the term remaining                                               Carl N. Williams MD
                                                                                         Attn: Carl N. Williams MD
             List the contract number of any                                             2020 Wellness Way 501
                   government contract                                                   Las Vegas, NV 89106


 2.23.       State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest

                  State the term remaining                                               Carrollton Orthopedic Clinic
                                                                                         Attn: J. Ben Butler
             List the contract number of any                                             150 Clinic Ave Ste 101
                   government contract                                                   Carrollton, GA 30117


 2.24.       State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest

                  State the term remaining                                               Center for Spine & Pain Medicine
                                                                                         Attn: Suleman Sohani
             List the contract number of any                                             1413 Chattanooga Ave
                   government contract                                                   Dalton, GA 30720


 2.25.       State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest

                  State the term remaining                                               Center of Special Procedures at Summerli
                                                                                         Attn: William S. Muir MD
             List the contract number of any                                             653 N Town Center Dr
                   government contract                                                   Las Vegas, NV 89144


 2.26.       State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest

                  State the term remaining                                               Cherokee Imaging Center
                                                                                         Attn: Jonna Roopas
             List the contract number of any                                             2000 Village Professional Dr
                   government contract                                                   Canton, GA 30114


 2.27.       State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest
                                                                                         Childrens Orthopaedics of Atlanta
                  State the term remaining                                               Attn: Mark Klein
                                                                                         1200 Lake Hearn Drive Suite 400
             List the contract number of any                                             Atlanta, GA 30319
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 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                    government contract


 2.28.       State what the contract or                   Independent Contractor
             lease is for and the nature of               Agreement
             the debtor's interest

                  State the term remaining                                               Chimedical Management Group
                                                                                         Attn: Dr. Stephen Cooper
             List the contract number of any                                             P.O Box 1611
                   government contract                                                   Phenix City, AL 36868


 2.29.       State what the contract or                   Partial Purchase and
             lease is for and the nature of               Sale Agreement
             the debtor's interest

                  State the term remaining                                               Clear Lake Imaging LLC
                                                                                         Attn: Managing Member
             List the contract number of any                                             202 N Texas Ave
                   government contract                                                   Webster, TX 77598


 2.30.       State what the contract or                   Accounts Receivable
             lease is for and the nature of               Purchase Agreement
             the debtor's interest

                  State the term remaining                                               ColdCo Therapies LLC
                                                                                         Attn: Adam Lurie
             List the contract number of any                                             1362 Rietveld Row
                   government contract                                                   Nw Atlanta, GA 30318


 2.31.       State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest

                  State the term remaining                                               Collections Consultants Nevada
                                                                                         Attn: Bonnie Barnett
             List the contract number of any                                             5440 W. Sahara Ave Suite 300
                   government contract                                                   Las Vegas, NV 89146


 2.32.       State what the contract or                   Service Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                               Comprehensive Spine & Pain
                                                                                         Attn: Dr. V.K. Puppala
             List the contract number of any                                             403 Permian Way Suite D
                   government contract                                                   Villa Rica, GA 30180


 2.33.       State what the contract or                   Service                        Concordia Anesthesialogy Inc.
             lease is for and the nature of               Agreement/Contract             Attn: Stephan Gosch
             the debtor's interest                                                       120 Ottly Dr. NE Suite C
                                                                                         Atlanta, GA 30324
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.34.       State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest

                  State the term remaining                                               Coosa Diagnostic Center
                                                                                         Attn: Eddie Rivers
             List the contract number of any                                             16 Riverbend Dr SW
                   government contract                                                   Rome, GA 30161


 2.35.       State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest

                  State the term remaining                                               Cornerstone Orthopedics & Sports Medicin
                                                                                         Attn: Rhett K. Rainey
             List the contract number of any                                             299 N Broad St
                   government contract                                                   Winder, GA 30680


 2.36.       State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest

                  State the term remaining                                               Coronado Surgery Center
                                                                                         Attn: Dr. Mike Crovetti
             List the contract number of any                                             2779 W Horizon Ridge Pkwy Ste 140
                   government contract                                                   Henderson, NV 89052


 2.37.       State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest

                  State the term remaining                                               Craniospinal Institute of Georgia
                                                                                         Attn: Dr. Daniel W. Moore
             List the contract number of any                                             790 Church St NE
                   government contract                                                   Marietta, GA 30060


 2.38.       State what the contract or                   Mutual Non-Disclosure
             lease is for and the nature of               Agreement
             the debtor's interest

                  State the term remaining                                               Creative Funding Services Inc.
                                                                                         Attn: Brett Hansbery
             List the contract number of any                                             1135 Bay Street Suite 10
                   government contract                                                   San Francisco, CA 94123




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.39.       State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest

                  State the term remaining                                               Damien A. Doute MD
                                                                                         Attn: Damien A. Doute MD
             List the contract number of any                                             1462 Montreal Rd
                   government contract                                                   Tucker, GA 30084


 2.40.       State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest

                  State the term remaining                                               Daniel Eisenman MD
                                                                                         Attn: Daniel Eisenman MD
             List the contract number of any                                             3050 Royal Blvd. Suite 100
                   government contract                                                   Alpharetta, GA 30022


 2.41.       State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest

                  State the term remaining
                                                                                         David S. Owens MD
             List the contract number of any                                             4545 Harris Trail
                   government contract                                                   Atlanta, GA 30327


 2.42.       State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest

                  State the term remaining                                               Douglas W. Kindall MD
                                                                                         Attn: Douglas W. Kindall MD
             List the contract number of any                                             3939 J St
                   government contract                                                   Sacramento, CA 95819


 2.43.       State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest

                  State the term remaining                                               Dr. Abbas Haider DDS
                                                                                         Attn: Dr. Abbas Haider DDS
             List the contract number of any                                             3521 Memorial Dr Ste A
                   government contract                                                   Decatur, GA 30032


 2.44.       State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest
                                                                                         Dr. Asaf Yalif
                  State the term remaining                                               Attn: Dr. Asaf Yalif
                                                                                         145 Towne Lake Pkwy Ste 101
             List the contract number of any                                             Woodstock, GA 30188
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                           State the name and mailing address for all other parties with
                                                                                      whom the debtor has an executory contract or unexpired
                                                                                      lease

                    government contract


 2.45.       State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest

                  State the term remaining                                                Dr. Bobby Khan
                                                                                          Attn: Dr. Bobby Khan
             List the contract number of any                                              5673 Peachtree Dunwoody Rd Ste 440
                   government contract                                                    Atlanta, GA 30342


 2.46.       State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest

                  State the term remaining                                                Dr. Gary Ganahl
                                                                                          Attn: Dr. Gary Ganahl
             List the contract number of any                                              1770 Century Blvd NE
                   government contract                                                    Atlanta, GA 30345


 2.47.       State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest

                  State the term remaining                                                Dr. Hetesh Ranchod
                                                                                          Attn: Dr. Hetesh Ranchod
             List the contract number of any                                              2769 Chastain Meadows Parkway Suite 70
                   government contract                                                    Marietta, GA 30066


 2.48.       State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest

                  State the term remaining                                                Dr. Jason Reingold
                                                                                          Attn: Dr. Jason Reingold
             List the contract number of any                                              5669 Peachtree Dunwoody Rd
                   government contract                                                    Atlanta, GA 30342


 2.49.       State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest

                  State the term remaining                                                Dr. Tapan Daftari
                                                                                          Attn: Dr. Tapan Daftari
             List the contract number of any                                              270 Chastain Rd
                   government contract                                                    Kennesaw, GA 30144


 2.50.       State what the contract or                   Service Agreement               Durango Outpatient Surgery Center
             lease is for and the nature of                                               Attn: Matt Pate
             the debtor's interest                                                        8530 W Sunset Rd
                                                                                          Las Vegas, NV 89113
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                           State the name and mailing address for all other parties with
                                                                                      whom the debtor has an executory contract or unexpired
                                                                                      lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.51.       State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest

                  State the term remaining                                                Elite First Assisting
                                                                                          Attn: Tyrone W. Rogers
             List the contract number of any                                              1235Magnolia Park Circle
                   government contract                                                    Cumming, GA 30040


 2.52.       State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest

                  State the term remaining                                                Elite Radiology of Georgia LLC
                                                                                          Attn: Kevin Johnson
             List the contract number of any                                              4800 Ashford Dunwoody Rd Ste 140
                   government contract                                                    Atlanta, GA 30338


 2.53.       State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest

                  State the term remaining                                                Elizabeth Caughey, DDS
                                                                                          Attn: Elizabeth Caughey, DDS
             List the contract number of any                                              25-A Lenox Pointe NE
                   government contract                                                    Atlanta, GA 30324


 2.54.       State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest

                  State the term remaining                                                Erik T. Bendiks MD
                                                                                          Attn: Kelly Millard
             List the contract number of any                                              11650 Alpharetta Hwy Ste 100
                   government contract                                                    Roswell, GA 30076


 2.55.       State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest

                  State the term remaining                                                Evans Procedure Center
                                                                                          Attn: Hemant Yagnick MD
             List the contract number of any                                              404 Town Park Blvd Suite 101
                   government contract                                                    Evans, GA 30809




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 2. List all contracts and unexpired leases                                           State the name and mailing address for all other parties with
                                                                                      whom the debtor has an executory contract or unexpired
                                                                                      lease

 2.56.       State what the contract or                   Agreement for
             lease is for and the nature of               Pharmancy Benefit Mgmt
             the debtor's interest                        Admins Services

                  State the term remaining                                                ExpressCHEX LLC
                                                                                          Attn: Nicholas Athanasatos
             List the contract number of any                                              2035 Sunset Lake Rd. Suite B-2
                   government contract                                                    Newark, DE 19702


 2.57.       State what the contract or                   Purchase Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                                First Coast Health Solutions
                                                                                          Attn: Aron Stefanides
             List the contract number of any                                              211 N Liberty St
                   government contract                                                    Jacksonville, FL 32202


 2.58.       State what the contract or                   Commercial Lease for
             lease is for and the nature of               premises located at 1700
             the debtor's interest                        West Horizon Ridge,
                                                          Henderson, Nevada
                  State the term remaining                                                First Savings Bank
                                                                                          Attn: Managing Member
             List the contract number of any                                              5960 S. Jones Blvd.
                   government contract                                                    Las Vegas, NV 89118


 2.59.       State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest

                  State the term remaining                                                FirstScanTM Omaha
                                                                                          Attn: Daniel Cinotto
             List the contract number of any                                              9840 S 140th St Ste 5
                   government contract                                                    Omaha, NE 68138


 2.60.       State what the contract or                   Security Rule
             lease is for and the nature of               Amendment to Business
             the debtor's interest                        Associate Agreement

                  State the term remaining                                                Flamingo Surgery Center
                                                                                          Attn: Nick Paciello
             List the contract number of any                                              2565 E Flamingo Rd
                   government contract                                                    Las Vegas, NV 89121


 2.61.       State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest
                                                                                          Georgia Health Imaging
                  State the term remaining                                                Attn: Maria Budhwani
                                                                                          4025 Lawrenceville Hwy NW
             List the contract number of any                                              Lilburn, GE 30047
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 2. List all contracts and unexpired leases                                           State the name and mailing address for all other parties with
                                                                                      whom the debtor has an executory contract or unexpired
                                                                                      lease

                    government contract


 2.62.       State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest

                  State the term remaining                                                Georgia Neurological Surgery & Comprehen
                                                                                          Attn: Brandt Halbach
             List the contract number of any                                              2142 W Broad St Bldg 100 Suite 200
                   government contract                                                    Athens, GA 30606


 2.63.       State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest

                  State the term remaining                                                Georgia Neuroscience
                                                                                          Attn: Alex Bannister
             List the contract number of any                                              335 Roselane St NW #202
                   government contract                                                    Marietta, GA 30060


 2.64.       State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest

                  State the term remaining                                                Georgia Pain & Spine Care
                                                                                          Attn: Jay Rice
             List the contract number of any                                              1665 Georgia Hwy 34 East #100
                   government contract                                                    Newnan, GA 30265


 2.65.       State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest

                  State the term remaining                                                Georgia Pain & Wellness Center
                                                                                          Attn: Amit Patel
             List the contract number of any                                              455 Phillip Blvd Building 100 Suite 140
                   government contract                                                    Lawrenceville, GA 30046


 2.66.       State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest

                  State the term remaining                                                Georgia Pain and Spine Solutions
                                                                                          Attn: Marcus Polk
             List the contract number of any                                              76 Highland Pavilion Ct #133
                   government contract                                                    Hiram, GA 30141


 2.67.       State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract              Georgia Pain Samson
             the debtor's interest                                                        120 Stonebridge Pkwy Ste 420
                                                                                          Woodstock, GA 30189
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 2. List all contracts and unexpired leases                                           State the name and mailing address for all other parties with
                                                                                      whom the debtor has an executory contract or unexpired
                                                                                      lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.68.       State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest

                  State the term remaining                                                Georgia Spine & Orthopedics
                                                                                          Attn: Winston Jeshuran
             List the contract number of any                                              6501 Peake Rd. Suite 400
                   government contract                                                    Macon, GA 31210


 2.69.       State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest

                  State the term remaining                                                Glendale MRI Institute
                                                                                          Attn: James Lilley
             List the contract number of any                                              624 S Central Ave #2009
                   government contract                                                    Glendale, CA 91204


 2.70.       State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest

                  State the term remaining                                                Griffin Imaging LLC
                                                                                          Attn: Paul Cote
             List the contract number of any                                              220 Rock St
                   government contract                                                    Griffin, GA 30224


 2.71.       State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest

                  State the term remaining                                                Gwinnett Hospital System Inc.
                                                                                          Attn: Cathy H.Daugherty
             List the contract number of any                                              1000 Medical Center Blvd
                   government contract                                                    Lawrenceville, GA 30046


 2.72.       State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest

                  State the term remaining                                                Healing Hands Physical Therapy Centers
                                                                                          Attn: Patricia Burnley
             List the contract number of any                                              1930 A Highland Ave
                   government contract                                                    Augusta, GA 30904




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 2. List all contracts and unexpired leases                                           State the name and mailing address for all other parties with
                                                                                      whom the debtor has an executory contract or unexpired
                                                                                      lease

 2.73.       State what the contract or                   Provider Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                                Health n Home
                                                                                          Attn: Paul G. Rowan
             List the contract number of any                                              P.O. Box 20 Attn Corp Tax 70428
                   government contract                                                    Boise, ID 83726


 2.74.       State what the contract or                   Purchase and Sale
             lease is for and the nature of               Agreement
             the debtor's interest

                  State the term remaining                                                HealthPlus Imaging
                                                                                          Attn: Stephanie Lam
             List the contract number of any                                              9000 Southwest Fwy
                   government contract                                                    Houston, TX 77074


 2.75.       State what the contract or                   Service Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                                HealthSouth Rehabilitation Hospital of L
                                                                                          Attn: Mark Tarr
             List the contract number of any                                              1250 South Valley View Blvd
                   government contract                                                    Las Vegas, NV 89102


 2.76.       State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest

                  State the term remaining                                                Henderson Radiology Inc.
                                                                                          Attn: Jade Alfasi
             List the contract number of any                                              10561 Jeffreys St Ste 111
                   government contract                                                    Las Vegas, NV 89052


 2.77.       State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest

                  State the term remaining                                                Hieu Ball MD
                                                                                          Attn: Hieu Ball MD
             List the contract number of any                                              100 Park Pl
                   government contract                                                    San Ramon, CA 94583


 2.78.       State what the contract or                   Accounts Purchase
             lease is for and the nature of               Agreement
             the debtor's interest
                                                                                          Hilltop Radiology LLC
                  State the term remaining                                                Attn: Joel Choe
                                                                                          2970 Hilltop Mall Rd
             List the contract number of any                                              Richmond, CA 94806
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 2. List all contracts and unexpired leases                                           State the name and mailing address for all other parties with
                                                                                      whom the debtor has an executory contract or unexpired
                                                                                      lease

                    government contract


 2.79.       State what the contract or                   Independent
             lease is for and the nature of               Contractor/Consultant
             the debtor's interest                        Agreement

                  State the term remaining                                                Howard Golden
                                                                                          Attn: Howard Golden
             List the contract number of any                                              1140 Hammond Dr
                   government contract                                                    Atlanta, GA 30328


 2.80.       State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest

                  State the term remaining                                                Imagelink LLC
                                                                                          Attn: Kurt Taylor
             List the contract number of any                                              1350 Scenic Hwy N. Suite 268
                   government contract                                                    Snellville, GA 30078


 2.81.       State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest

                  State the term remaining                                                James Scheller MD
                                                                                          Attn: James Scheller MD
             List the contract number of any                                              2288 Auburn Blvd Ste 201
                   government contract                                                    Sacramento, CA 95821


 2.82.       State what the contract or                   Independent
             lease is for and the nature of               Contractor/Consultant
             the debtor's interest                        Agreement

                  State the term remaining

             List the contract number of any                                              Jeff Bartholomew
                   government contract


 2.83.       State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest

                  State the term remaining                                                Jeffrey Goldberg MD
                                                                                          Attn: Jeffrey Goldberg MD
             List the contract number of any                                              210 E Derenne Ave
                   government contract                                                    Savannah, GA 31405


 2.84.       State what the contract or                   Service                         Joint Active Systems Inc.
             lease is for and the nature of               Agreement/Contract              Attn: Boris Bonutti
             the debtor's interest                                                        2600 S Raney St
                                                                                          Effingham, IL 62401
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 2. List all contracts and unexpired leases                                           State the name and mailing address for all other parties with
                                                                                      whom the debtor has an executory contract or unexpired
                                                                                      lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.85.       State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest

                  State the term remaining                                                Jordanica Inc.
                                                                                          Attn: Mark A. Premselaar
             List the contract number of any                                              780 Coronodo Cneter Dr. Suite 110A
                   government contract                                                    Henderson, NV 89052


 2.86.       State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest

                  State the term remaining                                                Katia Cabayan
                                                                                          Attn: Katia Cabayan
             List the contract number of any                                              2970 Hilltop Mall Rd
                   government contract                                                    Richmond, CA 94806


 2.87.       State what the contract or                   Factoring Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                                Las Vegas Pharmacy Inc.
                                                                                          Attn: Douglas L. Copsey
             List the contract number of any                                              2600 W Sahara Ave Ste 120
                   government contract                                                    Las Vegas, NV 89102


 2.88.       State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest

                  State the term remaining                                                Las Vegas Sleep Center PLLC
                                                                                          Attn: Mohamed Shimaya
             List the contract number of any                                              2400 S Cimarron Rd
                   government contract                                                    Las Vegas, NV 89117


 2.89.       State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest

                  State the term remaining                                                Ledesma Sports Medicine
                                                                                          Attn: Ernest Ledesma
             List the contract number of any                                              7010 Hodgson Memorial Dr
                   government contract                                                    Savannah, GA 31406




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 2. List all contracts and unexpired leases                                           State the name and mailing address for all other parties with
                                                                                      whom the debtor has an executory contract or unexpired
                                                                                      lease

 2.90.       State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest

                  State the term remaining                                                Legacy Brain & Spine
                                                                                          Attn: Dr. Said Elshihabi, Md
             List the contract number of any                                              718 Cherokee St NE
                   government contract                                                    Marietta, GA 30060


 2.91.       State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest

                  State the term remaining                                                Macon Pain Center PC
                                                                                          Attn: Carlos J. Giron
             List the contract number of any                                              3356 Vineville Ave.
                   government contract                                                    Macon, GA 31204


 2.92.       State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest

                  State the term remaining                                                Mariposa Medical Associates
                                                                                          Attn: Faye Vargas Morris MD
             List the contract number of any                                              767 Concord Rd SE
                   government contract                                                    Smyrna, GA 30082


 2.93.       State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest

                  State the term remaining                                                Mark W. Howard MD
                                                                                          Attn: Mark W. Howard MD
             List the contract number of any                                              576 Hartnell St
                   government contract                                                    Monterey, CA 93940


 2.94.       State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest

                  State the term remaining                                                MD Pain Care
                                                                                          Attn: Roy L. Talley MD
             List the contract number of any                                              5109 Highway 278 NE Ste C
                   government contract                                                    Covington, GA 30014


 2.95.       State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest
                                                                                          Medica Stand Up MRI of Atlanta
                  State the term remaining                                                Attn: Thomas R. Cormier
                                                                                          6590 Powers Ferry Rd
             List the contract number of any                                              Atlanta, GA 30339
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 2. List all contracts and unexpired leases                                           State the name and mailing address for all other parties with
                                                                                      whom the debtor has an executory contract or unexpired
                                                                                      lease

                    government contract


 2.96.       State what the contract or                   Medical Record Retrieval
             lease is for and the nature of               Financing Agreement
             the debtor's interest

                  State the term remaining

             List the contract number of any                                              Medical Records Funding Inc.
                   government contract


 2.97.       State what the contract or                   Item to be supplemented,
             lease is for and the nature of               as there are hundreds of
             the debtor's interest                        these ageements.

                  State the term remaining

             List the contract number of any                                              Micellaneous Provider Agreements
                   government contract


 2.98.       State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest

                  State the term remaining                                                Michael S. Champney MD, F.A.C.S.
                                                                                          Attn: Michael S. Champney MD, F.A.C.S.
             List the contract number of any                                              2665 N Decatur Rd
                   government contract                                                    Decatur, GA 30033


 2.99.       State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest

                  State the term remaining                                                MMR Holdings Inc.
                                                                                          Attn: John Platusic
             List the contract number of any                                              630 South Rancho Dr. Suite G
                   government contract                                                    Las Vegas, NV 89106


 2.100.      State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest

                  State the term remaining                                                Monitoring and Neuromonitoring Associate
                                                                                          Attn: Teresa L. Carter
             List the contract number of any                                              9811 West Charleston Suite 2-641
                   government contract                                                    Las Vegas, NV 89117


 2.101.      State what the contract or                   Service                         Neurological Associates of Nevada
             lease is for and the nature of               Agreement/Contract              Attn: Managing Member
             the debtor's interest                                                        2831 Business Park Ct Ste B
                                                                                          Las Vegas, NV 89128
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 2. List all contracts and unexpired leases                                           State the name and mailing address for all other parties with
                                                                                      whom the debtor has an executory contract or unexpired
                                                                                      lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.102.      State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest

                  State the term remaining                                                Nick DeFillips MD
                                                                                          Attn: Nick DeFillips MD
             List the contract number of any                                              990 Hammond Dr # 730
                   government contract                                                    Atlanta, GA 30328


 2.103.      State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest

                  State the term remaining                                                Non-Surgical Orthopaedics P.C.
                                                                                          Attn: Arnold J. Well MD
             List the contract number of any                                              335 Roselane St NW
                   government contract                                                    Marietta, GA 30060


 2.104.      State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest

                  State the term remaining                                                North Atlanta Surgical Associates
                                                                                          Attn: Managing Member
             List the contract number of any                                              5673 Peachtree Dunwoody Rd Ste 3
                   government contract                                                    Atlanta, GA 30342


 2.105.      State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest

                  State the term remaining                                                North DeKalb Orthopedics PC
                                                                                          Attn: Sylvia Brumelow
             List the contract number of any                                              505 Irvin Ct Ste 200
                   government contract                                                    Decatur, GA 30030


 2.106.      State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest

                  State the term remaining                                                North Fulton Anesthesia Inc.
                                                                                          Attn: James G. Velimesis
             List the contract number of any                                              3000 Hospital Blvd
                   government contract                                                    Roswell, GA 30076




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 2. List all contracts and unexpired leases                                           State the name and mailing address for all other parties with
                                                                                      whom the debtor has an executory contract or unexpired
                                                                                      lease

 2.107.      State what the contract or                   Institutional Provider
             lease is for and the nature of               Agreement
             the debtor's interest

                  State the term remaining                                                North Fulton Medical Center Inc.
                                                                                          Attn: Deborah C. Keel
             List the contract number of any                                              3000 Hospital Blvd
                   government contract                                                    Roswell, GA 30076


 2.108.      State what the contract or                   Purchase and Sale
             lease is for and the nature of               Agreement
             the debtor's interest

                  State the term remaining                                                North Houston Injury and Rehabilitation
                                                                                          Attn: Managing Member
             List the contract number of any                                              523 N Sam Houston Pkwy E
                   government contract                                                    Houston, TX 77060


 2.109.      State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest

                  State the term remaining                                                Northern California Orthopedic Centers
                                                                                          Attn: Paul Susaura MD
             List the contract number of any                                              6403 Coyle Ave Ste 170
                   government contract                                                    Carmichael, CA 95608


 2.110.      State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest

                  State the term remaining                                                Northwest Neurology
                                                                                          Attn: Robert Bashuk MD
             List the contract number of any                                              4460 Austell Rd
                   government contract                                                    Austell, GA 30106


 2.111.      State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest

                  State the term remaining                                                Open MRI of Macon
                                                                                          Attn: Lisa Waldrop
             List the contract number of any                                              1504 Hardeman Ave Ste B
                   government contract                                                    Macon, GA 31201


 2.112.      State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest
                                                                                          Open MRI Of Savannah
                  State the term remaining                                                Attn: Toni S. Cowan
                                                                                          4815 Waters Ave
             List the contract number of any                                              Savannah, GA 31404
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 2. List all contracts and unexpired leases                                           State the name and mailing address for all other parties with
                                                                                      whom the debtor has an executory contract or unexpired
                                                                                      lease

                    government contract


 2.113.      State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest

                  State the term remaining                                                Ortho Now PLLC
                                                                                          Attn: Bret Sokoloff, MD
             List the contract number of any                                              4901 Raleigh Common Dr. Suite 200
                   government contract                                                    Memphis, TN 38128


 2.114.      State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest

                  State the term remaining                                                Orthopaedic Solutions
                                                                                          Attn: Dr. Antenor Velazco, MD
             List the contract number of any                                              670 S. 8th Street
                   government contract                                                    Griffin, GA 30224


 2.115.      State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest

                  State the term remaining                                                Orthopedic Foot and Ankle Institute
                                                                                          Attn: Roman Sibel, MD
             List the contract number of any                                              3175 Saint Rose Pkwy Ste 320
                   government contract                                                    Henderson, NV 89052


 2.116.      State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest

                  State the term remaining                                                Outpatient Imaging
                                                                                          Attn: John F Howard MD
             List the contract number of any                                              3280 Howell Mill Rd NW Ste 345
                   government contract                                                    Atlanta, GA 30327


 2.117.      State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest

                  State the term remaining                                                Pain Care Center of Georgia
                                                                                          Attn: Crystal Marcum
             List the contract number of any                                              1365 Rock Quarry Rd Ste 202
                   government contract                                                    Stockbridge, GA 30281


 2.118.      State what the contract or                   Service                         Pain Consultants of Atlanta
             lease is for and the nature of               Agreement/Contract              Attn: Ashley Bernal
             the debtor's interest                                                        1800 Peachtree St NW Ste 750
                                                                                          Atlanta, GA 30309
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                                                                                      whom the debtor has an executory contract or unexpired
                                                                                      lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.119.      State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest

                  State the term remaining                                                Pain Institute of Georgia
                                                                                          Attn: Carlos J. Giron
             List the contract number of any                                              3356 Vineville Ave
                   government contract                                                    Macon, GA 31204


 2.120.      State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest

                  State the term remaining                                                Pain Management Specialists of Atlanta P
                                                                                          Attn: Randall Berinhout
             List the contract number of any                                              440 Prime Point
                   government contract                                                    Peachtree, GA 30269


 2.121.      State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest

                  State the term remaining                                                Parkaire Consultants
                                                                                          Attn: Randall Sheffield
             List the contract number of any                                              4939 Lower Roswell Rd Ste 201C
                   government contract                                                    Marietta, GA 30068


 2.122.      State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest

                  State the term remaining                                                Peachtree Neurosurgery
                                                                                          Attn: Joy Taylor
             List the contract number of any                                              1938 Peachtree Rd NW
                   government contract                                                    Atlanta, GA 30309


 2.123.      State what the contract or                   Assighment and Funding
             lease is for and the nature of               Agreement
             the debtor's interest

                  State the term remaining                                                Peachtree Orthopaedic Center P.A.
                                                                                          Attn: Managing Member
             List the contract number of any                                              2001 Peachtree Rd NE Suite 700
                   government contract                                                    Atlanta, GA 30309




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                           State the name and mailing address for all other parties with
                                                                                      whom the debtor has an executory contract or unexpired
                                                                                      lease

 2.124.      State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest

                  State the term remaining                                                Perimeter Orthopaedics PC
                                                                                          Attn: Katheryn Keller
             List the contract number of any                                              5673 Peachtree Dunwoody Rd Ste 825
                   government contract                                                    Atlanta, GA 30342


 2.125.      State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest

                  State the term remaining                                                Perimeter Outpatient Surgical Associates
                                                                                          Attn: Katheryn Keller
             List the contract number of any                                              5667 Peachtree Dunwoody Rd
                   government contract                                                    Atlanta, GA 30342


 2.126.      State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest

                  State the term remaining                                                Perimeter Surgical Center
                                                                                          Attn: Cindy Smith
             List the contract number of any                                              6105 Peachtree Dunwoody Rd Ste 110
                   government contract                                                    Atlanta, GA 30328


 2.127.      State what the contract or                   Purchase and Sale
             lease is for and the nature of               Agreement
             the debtor's interest

                  State the term remaining                                                Phenix City Spine and Topple Diagnostics
                                                                                          Attn: Brent Jones
             List the contract number of any                                              10800 Alpharetta Hwy #208-541
                   government contract                                                    Roswell, GA 30076


 2.128.      State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest

                  State the term remaining                                                Philip C. Colosimo Ph.D
                                                                                          Attn: Philip C. Colosimo Ph.D
             List the contract number of any                                              501 S Rancho Dr. Suite C-14
                   government contract                                                    Las Vegas, NV 89106


 2.129.      State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest
                                                                                          Pinnacle Orthopaedics Sports Medicine Sp
                  State the term remaining                                                Attn: Donna L. Fisher
                                                                                          720 Transit Ave Ste 202
             List the contract number of any                                              Canton, GA 30114
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                           State the name and mailing address for all other parties with
                                                                                      whom the debtor has an executory contract or unexpired
                                                                                      lease

                    government contract


 2.130.      State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest

                  State the term remaining                                                Pinnacle Orthopaedics Surgery Center-Woo
                                                                                          Attn: Donna L. Fisher
             List the contract number of any                                              1505 Stone Bridge Pkwy Ste 200
                   government contract                                                    Woodstock, GA 30189


 2.131.      State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest

                  State the term remaining                                                Plastikos Plastic and Recinstructive Sur
                                                                                          Attn: Susan Kolb MD
             List the contract number of any                                              4370 Georgetown Sq
                   government contract                                                    Atlanta, GA 30338


 2.132.      State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest

                  State the term remaining                                                Polaris Center for Outpatient Spine Surg
                                                                                          Attn: Joy Taylor
             List the contract number of any                                              1150 Hammond Drive Suite 400
                   government contract                                                    Atlanta, GA 30328


 2.133.      State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest

                  State the term remaining                                                Polaris Spine & Neurosurgery Center P.C.
                                                                                          Attn: Joy Taylor
             List the contract number of any                                              1150 Hammond Drive Suite 400
                   government contract                                                    Atlanta, GA 30328


 2.134.      State what the contract or                   Purchase and Sale
             lease is for and the nature of               Agreement
             the debtor's interest

                  State the term remaining                                                Preva Advanced Surgicare-The Woodlands L
                                                                                          Attn: Hugh P. Shannonhouse
             List the contract number of any                                              26710 I-45 N Ste B-100
                   government contract                                                    The Woodlands, TX 77386


 2.135.      State what the contract or                   Service                         Pro Performance P.T.
             lease is for and the nature of               Agreement/Contract              Attn: Amanda Stillings
             the debtor's interest                                                        4343 Shallowford Rd Ste G-3 & 4
                                                                                          Marietta, GA 30062
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 2. List all contracts and unexpired leases                                           State the name and mailing address for all other parties with
                                                                                      whom the debtor has an executory contract or unexpired
                                                                                      lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.136.      State what the contract or                   Service Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                                Process Servers Inc.
                                                                                          Attn: Martin Druckman
             List the contract number of any                                              1736 East Charleston Unit 333
                   government contract                                                    Las Vegas, NV 89104


 2.137.      State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest

                  State the term remaining                                                Psychological Diagnostic Center LLC
                                                                                          Attn: Willa L. Boston PH. D
             List the contract number of any                                              1820 Powers Ferry Rd. SE Building 22 Sui
                   government contract                                                    Atlanta, GA 30339


 2.138.      State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest

                  State the term remaining                                                Pulse Imaging
                                                                                          Attn: Managing Member
             List the contract number of any                                              202 N Texas Ave Ste 500
                   government contract                                                    Webster, TX 77598


 2.139.      State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest

                  State the term remaining                                                Regenerative Orthopaedics and Spine Inst
                                                                                          Attn: Phillip G. Ploska MD
             List the contract number of any                                              203 Medical Blvd.
                   government contract                                                    Stockbridge, GA 30281


 2.140.      State what the contract or                   Service Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                                Rehabilitation That Works
                                                                                          Attn: Bob Bedford
             List the contract number of any                                              801 S Rancho Dr Ste F4
                   government contract                                                    Las Vegas, NV 89106




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 2. List all contracts and unexpired leases                                           State the name and mailing address for all other parties with
                                                                                      whom the debtor has an executory contract or unexpired
                                                                                      lease

 2.141.      State what the contract or                   Letter of Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                                Restoration Counseling Services LLC
                                                                                          Attn: Faith Abraham
             List the contract number of any                                              1010 Huntcliff
                   government contract                                                    Sandy Springs, GA 30350


 2.142.      State what the contract or                   Independent Contractor
             lease is for and the nature of               Agreement
             the debtor's interest

                  State the term remaining

             List the contract number of any                                              Richard Andrew Clements
                   government contract


 2.143.      State what the contract or                   Confidentiality
             lease is for and the nature of               Agreement
             the debtor's interest

                  State the term remaining
                                                                                          Robert and Patty Sandler
             List the contract number of any                                              3655 Decatur Blvd. Suite 14173
                   government contract                                                    Las Vegas, NV 89103


 2.144.      State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest

                  State the term remaining                                                Rock Bridge Institute
                                                                                          Attn: Managing Member
             List the contract number of any                                              2500 Hospital Blvd
                   government contract                                                    Roswell, GA 30076


 2.145.      State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest

                  State the term remaining                                                Roy M. Rubin MD
                                                                                          Attn: Roy M. Rubin MD
             List the contract number of any                                              3455 American River Drive Ste. B
                   government contract                                                    Sacramento, CA 95864


 2.146.      State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest
                                                                                          Sacramento Pain Clinic
                  State the term remaining                                                Attn: Dr. Michael Levin, MD
                                                                                          777 Campus Commons Rd
             List the contract number of any                                              Sacramento, CA 95825
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 2. List all contracts and unexpired leases                                           State the name and mailing address for all other parties with
                                                                                      whom the debtor has an executory contract or unexpired
                                                                                      lease

                    government contract


 2.147.      State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest

                  State the term remaining                                                Safeway Driver Fitness Centers Inc.
                                                                                          Attn: Jeff Borchardt
             List the contract number of any                                              16230 W Mayflower Dr
                   government contract                                                    New Berlin, WI 53151


 2.148.      State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest

                  State the term remaining                                                Safeway Psychological Services
                                                                                          Attn: Jeff Borchardt
             List the contract number of any                                              16230 W Mayflower Dr
                   government contract                                                    New Berlin, WI 53151


 2.149.      State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest

                  State the term remaining                                                Saint Francis Memorial Hospital
                                                                                          Attn: Alan E. Fox
             List the contract number of any                                              900 Hyde St
                   government contract                                                    San Francisco, CA 94109


 2.150.      State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest

                  State the term remaining                                                San Ramon Surgery Center
                                                                                          Attn: Medina Henry
             List the contract number of any                                              100 Park Pl Ste 110
                   government contract                                                    San Ramon, CA 94583


 2.151.      State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest

                  State the term remaining                                                Santa Barbara Cottage Hospital
                                                                                          Attn: Gregory Friedrich
             List the contract number of any                                              400 W Pueblo St
                   government contract                                                    Santa Barbara, CA 93105


 2.152.      State what the contract or                   Service                         Scott Barbour MD
             lease is for and the nature of               Agreement/Contract              Attn: Scott Barbour MD
             the debtor's interest                                                        3240 NE Expy NE Ste 200
                                                                                          Atlanta, GA 30341
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 2. List all contracts and unexpired leases                                           State the name and mailing address for all other parties with
                                                                                      whom the debtor has an executory contract or unexpired
                                                                                      lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.153.      State what the contract or                   Service Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                                Seven Hills Surgery Center
                                                                                          Attn: Jeanne Elam
             List the contract number of any                                              876 Seven Hills Dr
                   government contract                                                    Henderson, NV 89052


 2.154.      State what the contract or                   Partial Purchase and
             lease is for and the nature of               Sale Agreement
             the debtor's interest

                  State the term remaining                                                South Atlanta MUA Center LLC
                                                                                          Attn: Stephen B. Cooper
             List the contract number of any                                              541 Forest Parkway Suite 14
                   government contract                                                    Forest Park, GA 30297


 2.155.      State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest

                  State the term remaining                                                South Placer Surgery Center
                                                                                          Attn: Brian Hunt
             List the contract number of any                                              8723 Sierra College Blvd
                   government contract                                                    Roseville, CA 95661


 2.156.      State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest

                  State the term remaining                                                Southeast Open MRI
                                                                                          Attn: Toni S. Cowan
             List the contract number of any                                              1103 Fountain Lake Dr
                   government contract                                                    Brunswick, GA 31525


 2.157.      State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest

                  State the term remaining                                                Southern Cross Surgery Center
                                                                                          Attn: R.L. Talley Jr. MD
             List the contract number of any                                              1301 Sigman Rd NE
                   government contract                                                    Conyers, GA 30012




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 2. List all contracts and unexpired leases                                           State the name and mailing address for all other parties with
                                                                                      whom the debtor has an executory contract or unexpired
                                                                                      lease

 2.158.      State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest

                  State the term remaining                                                Specialty Orthopaedics
                                                                                          Attn: Kevin Jarrard
             List the contract number of any                                              1240 Jesse Jewell Pkwy SE # 300.
                   government contract                                                    Gainesville, GA 30501


 2.159.      State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest

                  State the term remaining                                                Specialty Surgery Center of Pecos
                                                                                          Attn: Craig N. Foreman
             List the contract number of any                                              1569 E. Flamingo Rd
                   government contract                                                    Las Vegas, NV 89119


 2.160.      State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest

                  State the term remaining                                                Spine Center Medical Group
                                                                                          Attn: Jodie Faier
             List the contract number of any                                              455 Hickey Blvd Ste 310
                   government contract                                                    Daly City, CA 94015


 2.161.      State what the contract or                   Accounts Receivable
             lease is for and the nature of               Single Case Agreement
             the debtor's interest

                  State the term remaining                                                SpinePlus Healthcare
                                                                                          Attn: Raymond Torres
             List the contract number of any                                              2918 San Jacinto St Suite 150
                   government contract                                                    Houston, TX 77004


 2.162.      State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest

                  State the term remaining                                                Sports Concussion Institute
                                                                                          Attn: Jay H. Paik
             List the contract number of any                                              3200 Downwood Cir NW
                   government contract                                                    Atlanta, GA 30327


 2.163.      State what the contract or                   Service Agreement
             lease is for and the nature of
             the debtor's interest
                                                                                          St. George Surgical Center
                  State the term remaining                                                Attn: Terrill Dick
                                                                                          676 S Bluff St
             List the contract number of any                                              Saint George, UT 84770
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 2. List all contracts and unexpired leases                                           State the name and mailing address for all other parties with
                                                                                      whom the debtor has an executory contract or unexpired
                                                                                      lease

                    government contract


 2.164.      State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest

                  State the term remaining                                                Starpoint Health Inc.
                                                                                          Attn: Eric D Friedlander
             List the contract number of any                                              20360 SW Birch St Ste 110
                   government contract                                                    Newport Beach, CA 92660


 2.165.      State what the contract or                   Purchase and Sale
             lease is for and the nature of               Agreement
             the debtor's interest

                  State the term remaining                                                Stat Diagnostics Cuevas Diagnostics LLC
                                                                                          Attn: Cesar Cuevas
             List the contract number of any                                              4710 Katy Freeway
                   government contract                                                    Houston, TX 77007


 2.166.      State what the contract or                   Insurance policy for
             lease is for and the nature of               business personal
             the debtor's interest                        property effective
                                                          1/28/2021-1/28/2022
                  State the term remaining                                                State Farm Fire & Casualty Co.
                                                                                          Attn: Bankruptcy Dept/Managing Agent
             List the contract number of any                                              3 Ravinia Drive
                   government contract                                                    Atlanta, GA 30346-2117


 2.167.      State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest

                  State the term remaining                                                Statesboro Neurosurgery
                                                                                          Attn: Dr. Donald Graham
             List the contract number of any                                              1211 Merchant Way Ste 411
                   government contract                                                    Statesboro, GA 30458


 2.168.      State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest

                  State the term remaining                                                Stellar Ambulartory Anesthesia Consultan
                                                                                          Attn: Timothy Griner
             List the contract number of any                                              1150 Hammond Drive Suite 600
                   government contract                                                    Atlanta, GA 30328


 2.169.      State what the contract or                   Service Agreement               Stone Creek Surgery Center
             lease is for and the nature of                                               Attn: Jeanne Elam
             the debtor's interest                                                        5915 S Rainbow Blvd
                                                                                          Las Vegas, NV 89118
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 2. List all contracts and unexpired leases                                           State the name and mailing address for all other parties with
                                                                                      whom the debtor has an executory contract or unexpired
                                                                                      lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.170.      State what the contract or                   Mutual Non-Disclosure
             lease is for and the nature of               Agreement
             the debtor's interest

                  State the term remaining                                                Stonecreek Capital Advisors
                                                                                          Attn: Robert Spertell
             List the contract number of any                                              19710 Skyline Blvd
                   government contract                                                    Los Gatos, CA 95033


 2.171.      State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest

                  State the term remaining                                                Streeterville Open MRI LLC
                                                                                          Attn: Edwin Sage
             List the contract number of any                                              446 E Ontario St Ste 106
                   government contract                                                    Chicago, IL 60611


 2.172.      State what the contract or                   Legal Services
             lease is for and the nature of               Agreement
             the debtor's interest

                  State the term remaining                                                Stutz Artiano & Holtz
                                                                                          Attn: Ljubisa Kostic
             List the contract number of any                                              1120 N Town Center Dr
                   government contract                                                    Las Vegas, NV 89144


 2.173.      State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest

                  State the term remaining                                                Supriti Baylan DDS
                                                                                          Attn: Supriti Baylan DDS
             List the contract number of any                                              2145 Roswell Rd Ste 120
                   government contract                                                    Marietta, GA 30062


 2.174.      State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest

                  State the term remaining                                                Surgery Center of Athens LLC
                                                                                          Attn: Brandon O'Dell
             List the contract number of any                                              2142 W Broad St Ste 100
                   government contract                                                    Athens, GA 30606




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 2. List all contracts and unexpired leases                                           State the name and mailing address for all other parties with
                                                                                      whom the debtor has an executory contract or unexpired
                                                                                      lease

 2.175.      State what the contract or                   Service Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                                Surgery Center of Southern Nevada
                                                                                          Attn: Managing Member
             List the contract number of any                                              4275 Burnham Ave
                   government contract                                                    Las Vegas, NV 89119


 2.176.      State what the contract or                   Company Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                                Surgery Excellence Management LLC
                                                                                          Attn: Lori Ramirez
             List the contract number of any                                              2100 West Loop South Suite 1200
                   government contract                                                    Houston, TX 77027


 2.177.      State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest

                  State the term remaining                                                Surgical Imaging Services Inc.
                                                                                          Attn: Josephine Shameria
             List the contract number of any                                              782 Dynasty Dr
                   government contract                                                    Fairfield, CA 94534


 2.178.      State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest

                  State the term remaining                                                Sutton Orthopaedics & Sports Medicine
                                                                                          Attn: Michael A. Birke MD
             List the contract number of any                                              145 Medical Blvd
                   government contract                                                    Stockbridge, GA 30281


 2.179.      State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest

                  State the term remaining                                                Swaroop N. Nyshadham MD
                                                                                          Attn: Swaroop N. Nyshadham MD
             List the contract number of any                                              1990 Lukken Industrial Dr W
                   government contract                                                    Lagrange, GA 30240


 2.180.      State what the contract or                   Sub-Advisory Agreement
             lease is for and the nature of               dated June 18, 2020, and
             the debtor's interest                        Addendum Modification
                                                          thereto                         Tecumseh-Infinity Med. Receiv. Fund LP
                  State the term remaining                                                Attn: Tecumseh Alternatives, LLC
                                                                                          5668 Morris Hunt Dr.
             List the contract number of any                                              Fort Mill, SC 29708
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 2. List all contracts and unexpired leases                                           State the name and mailing address for all other parties with
                                                                                      whom the debtor has an executory contract or unexpired
                                                                                      lease

                    government contract


 2.181.      State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest

                  State the term remaining                                                The Hand & Upper Extremity Center of Geo
                                                                                          Attn: Jeffrey Klugman
             List the contract number of any                                              980 Johnson Ferry Rd Ste 1000
                   government contract                                                    Atlanta, GA 30342


 2.182.      State what the contract or                   Medical Financing
             lease is for and the nature of               Agreement
             the debtor's interest

                  State the term remaining                                                The Injury Specialist LLC
                                                                                          Attn: Michael Wax
             List the contract number of any                                              5464 Peachtree Blvd
                   government contract                                                    Chamblee, GA 30341


 2.183.      State what the contract or                   Service Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                                The Pain Clinic
                                                                                          Attn: Roper Dollarhide
             List the contract number of any                                              5445 W Sahara Ave
                   government contract                                                    Las Vegas, NV 89146


 2.184.      State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest

                  State the term remaining                                                The Pain Relief Center of Georgia
                                                                                          Attn: Idi Allen MD
             List the contract number of any                                              101 Yorktown Dr Ste 211
                   government contract                                                    Fayetteville, GA 30214


 2.185.      State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest

                  State the term remaining                                                The Physicians Atlanta Surgery Center
                                                                                          Attn: Sharryn Seffozo
             List the contract number of any                                              5730 Glenridge Dr Ste 110
                   government contract                                                    Atlanta, GA 30328


 2.186.      State what the contract or                   Service                         The Physicians Lab Services
             lease is for and the nature of               Agreement/Contract              Attn: Sharryn Seffozo
             the debtor's interest                                                        5730 Glenridge Dr Ste 110
                                                                                          Atlanta, GA 30328
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 Debtor 1 Infinity Capital Management, Inc.                                                       Case number (if known)   21-14486-abl
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                           State the name and mailing address for all other parties with
                                                                                      whom the debtor has an executory contract or unexpired
                                                                                      lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.187.      State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest

                  State the term remaining                                                The Physicians North Atlanta Surgery Cen
                                                                                          Attn: Sharryn Seffozo
             List the contract number of any                                              5730 Glenridge Dr Ste 110
                   government contract                                                    Atlanta, GA 30328


 2.188.      State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest

                  State the term remaining                                                The Physicians Rome Surgery Center
                                                                                          Attn: Sharryn Seffozo
             List the contract number of any                                              5730 Glenridge Dr Ste 110
                   government contract                                                    Atlanta, GA 30328


 2.189.      State what the contract or                   Purchase and Sale
             lease is for and the nature of               Agreement
             the debtor's interest

                  State the term remaining                                                The Woodlands Specialty Hospital
                                                                                          Attn: Antonio Canales
             List the contract number of any                                              25440 I-45 N
                   government contract                                                    The Woodlands, TX 77386


 2.190.      State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest

                  State the term remaining                                                Tobin Bone and Joint Surgery Inc.
                                                                                          Attn: Joseph Tobin
             List the contract number of any                                              12 Lafayette Place Suite A
                   government contract                                                    Hilton Head Island, SC 29926


 2.191.      State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest

                  State the term remaining                                                Tushar M. Goradia MD PhD
                                                                                          Attn: Tushar M. Goradia MD PhD
             List the contract number of any                                              6555 Coyle Ave
                   government contract                                                    Carmichael, CA 95608




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 Debtor 1 Infinity Capital Management, Inc.                                                       Case number (if known)   21-14486-abl
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                                                                                      whom the debtor has an executory contract or unexpired
                                                                                      lease

 2.192.      State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest

                  State the term remaining                                                Tyrone Synergy Rehabilitation
                                                                                          Attn: Branton R. Queen PT
             List the contract number of any                                              100 Millbrook Village Dr
                   government contract                                                    Tyrone, GA 30290


 2.193.      State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest

                  State the term remaining                                                Ultimate Physical Therapy LLC
                                                                                          Attn: Sayeeda Kurlawala
             List the contract number of any                                              10929 Katy Fwy Ste B
                   government contract                                                    Houston, TE 77079


 2.194.      State what the contract or                   Service Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                                University Medical Center
                                                                                          Attn: Lacy L. Thomas
             List the contract number of any                                              1800 W Charleston Blvd
                   government contract                                                    Las Vegas, NV 89102


 2.195.      State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest

                  State the term remaining                                                Valley Anesthesiology
                                                                                          Attn: Garland Cowen
             List the contract number of any                                              10120 South Eastern Suite 200
                   government contract                                                    Henderson, NV 89052


 2.196.      State what the contract or                   Letter of Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                                Valley Health System
                                                                                          Attn: Managing Member
             List the contract number of any                                              2075 E Flamingo Rd
                   government contract                                                    Las Vegas, NV 89119


 2.197.      State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest
                                                                                          Viking Pain Management
                  State the term remaining                                                Anthony Rotando
                                                                                          1229 Creek Way Dr Ste 104
             List the contract number of any                                              Sugarland, TX 77478
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                                                                                      whom the debtor has an executory contract or unexpired
                                                                                      lease

                    government contract


 2.198.      State what the contract or                   Accounts Purchase
             lease is for and the nature of               Agreement
             the debtor's interest

                  State the term remaining                                                Werner Institute of Balance & Dizziness
                                                                                          Attn: Managing Member
             List the contract number of any                                              9080 W Cheyenne Ave
                   government contract                                                    Las Vegas, NV 89129


 2.199.      State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest

                  State the term remaining                                                White Oak Surgery Center
                                                                                          Attn: Jay Rice
             List the contract number of any                                              1665 Highway 34 E Ste 200
                   government contract                                                    Newnan, GA 30265


 2.200.      State what the contract or                   Independent
             lease is for and the nature of               Contractor/Consultant
             the debtor's interest                        Agreement

                  State the term remaining                                                Wilcorp LLC
                                                                                          Attn: Robin Wilson
             List the contract number of any                                              11204 S. 75th E. Ave
                   government contract                                                    Bixby, OK 74008


 2.201.      State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest

                  State the term remaining                                                William A. Segal MD
                                                                                          Attn: William A. Segal MD
             List the contract number of any                                              3800 Pleasant Hill Rd Ste 3
                   government contract                                                    Duluth, GA 30096


 2.202.      State what the contract or                   Service
             lease is for and the nature of               Agreement/Contract
             the debtor's interest

                  State the term remaining                                                XL2XS LLC
                                                                                          Attn: Saira McKinley
             List the contract number of any                                              5413 Rose Thicket St
                   government contract                                                    Las Vegas, NV 89130


 2.203.      State what the contract or                   Service                         Yarbro Ltd. dba Lake Mead Radiologists
             lease is for and the nature of               Agreement/Contract              Attn: Donald Den Yarbro Jr. MD
             the debtor's interest                                                        2559 Wigwam Pkwy
                                                                                          Henderson, NV 89074
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                                                                                      lease

                  State the term remaining

             List the contract number of any
                   government contract




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